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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Civil Action No. 23-cv-01550-RTG

ERIC WITT,

       Plaintiff,

v.

ADAMS COUNTY, TOWN OF BENNETT, COLORADO,
ADAMS COUNTY SHERIFF’S OFFICE,
ANTONIO MAEZ, Adams County Sheriff’s Deputy,
JANEWAY LAW FIRM, PC,
TOWN OF BENNETT,
JUDGE SHAWN DAY,
JOSEPH LICO, Prosecutor,
KRISTOFER RUNGE, Adams County Sheriff’s Deputy,
JOHN DOE #1, Adams County Sheriff’s Deputy,
JOHN DOES #2, Adams County Sheriff’s Deputy,
SONYA ZIMMERMAN, Town of Bennett Community Service Officer,
KEITH BUONO, Town of Bennett Lead Community Service Officer,
KENDRA HAWES, Administrative Assistant,
CALEB J. CONNER, Battalion Chief – Fire Marshal, and
JOHN/JANE DOE, Town of Bennett (Utilities),

       Defendants.


                                     MINUTE ORDER

ENTERED BY U.S. MAGISTRATE JUDGE RICHARD T. GURLEY

      On April 22, 2024, Plaintiff filed an “Emergency Motion for Leave to File Excess
Pages for Emergency Motion to Preserve Evidence, Compel Disclosure, and Grant
Emergency Monetary Relief” (ECF No. 24). On April 24, 2024, he filed “Emergency
Motion for Court-Appointed Forensic Examination of Writ of Restitution File(s)” (ECF
No. 25). On July 10, 2024, he filed a “Motion to Expedite Proceedings and for Status
Conference” (ECF No. 26). These Motions (ECF Nos. 24, 25, 26) are DENIED as
premature because this case is still in initial review. Likewise, Plaintiff’s request to serve
Defendants is DENIED as premature.

       DATED: July 30, 2024
